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                  BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION



 IN RE: 3M COMBAT ARMS EARPLUG                )       MDL Docket No.
 LITIGATION                                   )


  MEMORANDUM IN SUPPORT OF MOTION FOR TRANSFER OF RELATED
 ACTIONS TO THE DISTRICT OF MINNESOTA PURSUANT TO 28 U.S.C. § 1407
            FOR COORDINATED PRETRIAL PROCEEDINGS

   Pursuant to Rule 6.2(a) of the Rules of Procedure of the United States Judicial Panel

on Multidistrict Litigation, John Ciaccio, plaintiff in Ciaccio v. 3M Company, et al., Case No.

0:19-cv-00179 (D. Minn.) (the “Ciaccio Action”), respectfully submits this Memorandum

in Support of the Motion for Transfer of Related Actions to the District of Minnesota for

coordinated pretrial proceedings under 28 U.S.C. § 1407. Transfer and coordination will

promote the just and efficient conduct” of the actions, 28 U.S.C. § 1407, because the

Related Actions, of which there are currently seven, each allege overlapping causes of

action related to the same product defect causing the same or similar injuries. Of the three

venues in which the Related Actions are presently filed, transfer and coordination in the

District of Minnesota is most appropriate because the Defendants have their principal

places of business there and thus the relevant documents and witnesses are located there.

Minnesota is thus not just an experienced MDL venue, but is the venue most appropriate

“for the convenience of the parties and witnesses.”




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                                      INTRODUCTION

    Plaintiff John Ciaccio (“Plaintiff”) filed suit against 3M Company (“3M”) and Aearo

Technologies, LLC (“Aearo”) in the District of Minnesota on January 24, 2019. Plaintiff

alleges, among other things, that Defendants manufactured and sold dual-ended Combat

Arms™ earplugs that were defective. Moreover, Plaintiff alleges Defendants knew the

earplugs were defective prior to selling them because they falsified test results to qualify

for a multi-million dollar per-year contract with the United States. As a result of the

defect, Plaintiff now suffers from hearing loss and tinnitus.

    To date, eight related actions have been filed in four judicial districts: Kennedy v. 3M

Company, Case No. 5:19-cv-00128-JAK-SP (C.D. Cal., filed Dec. 24, 2018)1; Bridges v. 3M

Company, Case No. 2:19-cv-00327 (N.D. Cal., filed Jan. 15, 2019); Werner v. 3M Company,

Case No. 5:19-cv-00059-D (W.D. Okla., filed Jan. 18, 2019); Stine v. 3M Company, Case No.

5:19-cv-00058-HE (W.D. Okla., filed Jan. 18, 2019); Rowe v. 3M Company, Case No. 6:19-cv-

00019-ADA-JCM (W.D. Tex., filed Jan. 22, 2019); Ciaccio v. 3M Company, et al., Case No.

0:19-cv-00179 (D. Minn.); Peek, et al. v. 3M Company, et al., Case No. 0:19-cv-00192 (D.

Minn., filed Jan. 25, 2019); and Larkin v. 3M Company, et al., Case No. 19-cv-00194 (D.

Minn., filed Jan. 25, 2019) (collectively, “Related Actions”).2


1
 This matter was removed from the Superior Court of the State of California for the
County of San Bernardino on January 24, 2019.

2Pursuant to Rule 6.1(b)(ii) of the Rules of Procedure of the United States Judicial Panel
on Multidistrict Litigation, attached hereto is a Schedule of Related Actions.
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   The Related Actions assert similar claims on behalf of U.S. military personnel and

other wearers of defective Combat Arms™ earplugs who suffered hearing loss and/or

tinnitus, among other injuries, as a result of these defective earplugs. Each of these cases

will involve the same or similar legal issues, claims, and expert witnesses.

   Based on Movant’s Counsel’s research, and given that the U.S. military purchased

enough Combat Arms™ earplugs to provide one pair to all military personnel deployed

each year in major foreign engagements from 2003 through 2015, Movant reasonably

anticipates that thousands of other actions with similar allegations are likely to follow.

As discussed below, the District of Minnesota is the most appropriate forum for

centralization of pretrial proceedings under 28 U.S.C. § 1407 because it is an experienced,

and centrally located, jurisdiction in which Defendants’ headquarters and the relevant

documents and witnesses are located.

                                        ARGUMENT

I. Transfer and Coordination of the Related Actions Is Appropriate

   Under 28 U.S.C. §1407(a), civil actions pending in different district courts and

involving “one or more common questions of fact” may be “transferred to any district for

coordinated or consolidated pretrial proceedings.” Transfer is appropriate to serve “the

convenience of parties and witnesses” and to “promote the just and efficient conduct” of

the pending actions. Id. Here, these factors support transferring the Related Actions to

the District of Minnesota for coordinated pretrial proceedings.


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   A. The Related Actions Involve Common Questions of Fact.

   The Related Actions share many common questions of fact that provide a sufficient

basis for centralizing the actions in a single forum. Common questions of fact exist where

two or more complaints assert similar allegations against similar defendants based on

similar transactions and events. See, e.g., In re UnumProvident Corp. Secs., Derivative &

“ERISA” Litig., 280 F. Supp. 2d 1377, 1379 (J.P.M.L. 2003) (centralization appropriate

where “all actions [could] be expected to focus on a significant number of common

events, defendants, and/or witnesses” and “core factual allegations” were consistent

among the actions).

   The individual complaints in the Related Actions involve overlapping causes of action

that give rise to questions of fact about the same product defect and Defendants’

knowledge thereof, that are not merely common, but virtually identical. The Related

Actions all allege that Defendants knowingly sold defective Combat Arms™ earplugs to

the U.S. military causing military personnel to suffer hearing loss and tinnitus. See, e.g.,

In re Bair Hugger Forced Air Warming Devices Prods. Liab. Litig., 148 F. Supp. 3d 1383, 1385

(J.P.M.L. 2015) (transfer under § 1407 appropriate where related actions shared factual

issues related to allegations of injuries from defective warming system). Centralizing the

Related Actions will thus allow for coordinated discovery efforts aimed at the product

defect and Defendants’ knowledge thereof, as well as coordinated motion practice related

to any defenses Defendants may raise that will largely be generally applicable to all cases.


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   Specifically, the Related Actions allege that the edge of the third flange of the non-

inserted end of the Combat Arms™ earplugs presses against the ear canals of some

wearers, causing it to fold back to its original shape and loosen the seal in the ear canal.

See, e.g., In re Bair Hugger, 148 F. Supp. 3d at 1385 (common factual issues existed where

plaintiffs alleged same defective condition of same product); In re: Stryker Rejuvenate and

ABG II Hip Implant Prods. Liab. Litig., 949 F. Supp. 2d 1378, 1379 (transfer to District of

Minnesota under § 1407 appropriate due to shared factual questions “concerning design,

manufacture, marketing and performance…” of the Stryker product); In re Stryker

Orthopaedics LFIT V40 Femoral Head Prod. Liab. Litig., 249 F. Supp. 3d 1353, 1355 (J.P.M.L.

2017) (“[a]ll actions involve common factual questions about alleged defects in HOC’s

Stryker-branded LFIT Anatomic CoCr V40 femoral heads”).

   Common questions of fact and law at issue in the Related Actions include, inter alia:

   1. Whether Defendants’ Combat Arms™ earplugs had a dangerous design defect;

   2. Whether Defendants knew the Combat Arms™ earplugs were defective;

   3. Whether Defendants represented that the Combat Arms™ earplugs would meet
      specific performance criteria established by the U.S. Government as a perquisite
      for bidding Indefinite-Quantity Contracts (“IQC”) for earplugs;

   4. Whether Defendants knew the performance representations were false;

   5. Whether Defendants adequately instructed wearers of Combat Arms™ earplugs;
      and

   6. Whether Defendants’ misrepresentations about the benefits and protections
      provided by Combat Arms™ earplugs caused Plaintiff and other wearers to suffer
      hearing loss and tinnitus.


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   These substantially overlapping factual allegations and legal issues present common

issues concerning the design, testing, sale, and marketing of the Combat Arms™ earplugs

are sufficient to merit transfer and coordination. See In re: Darvocet, Darvon and

Propoxyphene Prod. Liab. Litig., 780 F. Supp. 2d 1379, 1380 (J.P.M.L. 2011) (transfer

appropriate where common factual issues as to whether products “defectively designed

and marketed…whether defendants knew or should have known about the increase

risk…and failed to provide adequate warnings of them”); In re Mirapex Prod. Liab. Litig.,

493 F. Supp. 2d 1376, 1377 (J.P.M.L. 2007) (common factual questions warranting transfer

in actions regarding alleged side effects and inadequate warnings); In re: Cook Medical,

Inc., IVC Filters Mktg., Sales Pract. and Prod. Liab. Litig., 53 F. Supp. 3d 1379, 1380 (J.P.M.L.

2014) (transfer under § 1407 appropriate where related acts “share paramount issues

concerning the design, manufacture, testing, and marketing of a single medical

device…”) (citation omitted); In re Baycol Prods. Liab. Litig., 180 F. Supp. 2d 1378, 1380

(J.P.M.L. 2001) (common questions of fact exist where Related Actions shared allegations

about product safety).

   B. Transfer Will Promote the Just and Efficient Conduct of the Related Actions.

   Because the same conduct of Defendants regarding the same product and the same

defect are at issue, and the plaintiffs in the Related Actions pursue the same or similar

legal theories regarding the alleged defective product, centralizing these actions will

promote the just and efficient conduct of the Related Actions. Transfer and consolidation


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will eliminate duplication in discovery and discovery rulings, avoid conflicting rulings

on the merits, avoid conflicting schedules, reduce litigation costs, and save time and effort

of the parties, the attorneys, the witnesses, and the courts. See Manual for Complex

Litigation, § 20.131 (4th ed. 2016).

   As an initial matter, the plaintiffs will seek to develop similar evidence, including

evidence of Defendants’ knowledge of the defect, testing, and representations and

warranties accompanying the earplugs. Absent centralization, plaintiffs in each

individual action may be required to seek discovery regarding the background science of

the Combat Arms™ earplugs, testing of the earplugs, and Defendants’ performance

representations. Centralizing the Related Actions for pretrial proceedings will eliminate

duplicative discovery on these common issues. See In re: Fluoroquinolone Prod. Liab. Litig.,

122 F. Supp. 3d 1378, 1380 (J.P.M.L. 2015) (finding where issues of “general causation,

the background science, regulatory history, and labeling will be common to all action”

centralization will “…facilitate the establishment of a uniform pretrial approach”); see also

In re Darvocet, 780 F. Supp. 2d at 1380-81 (“Centralization would help limit duplicative

discovery, prevent inconsistent pretrial rulings on discovery and other issues, and

conserve the resources of the parties, their counsel and particularly the judiciary.”).

   Centralization will also permit the transferee judge to establish a uniform pretrial

approach to conserve judicial and party resources to reduce duplicative fact discovery

and reducing “potentially costly expert discovery.” See In re: Fluoroquinolone, 122 F. Supp.


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3d at 1380. Centralization will also avoid the necessity for multiple and potentially

inconsistent rulings on Daubert motions in this action involving questions of the

performance and testing of Combat Arms™ earplugs. See In re Bair Hugger, 148 F. Supp.

3d at 1385; In re Stryker Orthopaedics, 249 F. Supp. 3d at 1355 (centralization avoids

duplicative discovery on “complex issues such as the design, testing, manufacturing, and

marketing” in products liability action).

   Further, product liability mass torts are frequently centralized where plaintiffs allege

a common defect. See, e.g., In re: Cook Medical, 53 F. Supp. 3d at 1381 (citing cases granting

centralization where “plaintiffs allege a common defect” against the same manufacturer);

see also, e.g., In re: Fluoroquinolone, 122 F. Supp. 3d at 1380 (“Issues concerning general

causation, the background science, regulatory history, and labeling will be common to all

actions. Centralization will reduce potentially costly expert discovery, facilitate the

establishment of a uniform pretrial approach to these cases, reduce the potential for

inconsistent pretrial rulings, and conserve the resources of the parties, their counsel, and

the judiciary.”).

   Thus, where, as here, transfer to a single court will avoid duplicative discovery and

potentially conflicting pretrial and other rulings, transfer for pretrial purposes is

warranted to promote the interest of judicial economy and efficiency.




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II. The District of Minnesota Is the Most Appropriate Transferee Forum

    Under 28 U.S.C. § 1407(a), transfer is needed to serve “the convenience of the parties

and witnesses” and to “promote the just and efficient conduct” of the Related Actions. Id.

The District of Minnesota is the most appropriate forum for the Related Actions because

(A) it is the forum with the most meaningful nexus to the Related Actions; (B) it has

proven itself to have the judicial resources and expertise to efficiently manage an MDL

like this one; and (C) the convenience of the parties and witnesses is best served there.

    A. This Litigation Has a Strong Nexus to the District of Minnesota.

    The Panel looks to the “nexus” between the allegations and the proposed forum when

determining an appropriate transferee district. See In re Delphi Corp. Sec., Derivative &

“ERISA” Litig., 403 F. Supp. 2d 1358, 1360 (J.P.M.L. 2005). A nexus may exist where the

alleged wrongful conduct occurred and where the documents and witnesses are located.

See, e.g., In re: Darvocet, 780 F. Supp.2d at 1382 (transferring actions to district in which

defendant headquartered are where “relevant documents and witnesses are likely

located…”) (citation omitted).

    Here, the allegations stem from Defendants’ design and sale of defective Combat

Arms™ earplugs, including manipulating the testing protocol after identifying the

design defect. Both Defendants’ principal places of business are in Minnesota.3


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 Aearo Technologies developed, marketed, and sold the Combat Arms™ earplug until
being acquired by 3M in 2008. 3M acquired both the assets and liabilities of Aearo and
hired Aearo’s employees and maintained it as a separate operating unit.
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Defendants’ employees and thus their documents related to the relevant decisions are in

Minnesota. See In re Bair Hugger, 148 F. Supp. 3d at 1386 (transferring action involving 3M

to the District of Minnesota where “many witnesses and relevant documents are likely to

be found”); In re Tylenol (Acetaminophen) Mktg., Sales Pract. and Prods. Liab. Litig., 936 F.

Supp. 2d 1379, 1380 (J.P.M.L. 2013) (transferring to district in which company responsible

for “design, manufacture, and distribution” of product at issue was located as “many of

defendants’ witnesses and documents are likely to be found in or near”); In re Toyota

Motor Corp. Unintended Acceleration Mktg. & Sales Pract. Prods. Liab. Litig., 704 F. Supp. 2d

1379, 1382 (J.P.M.L. 2010) (Central District of California appropriate transferee district

because “Toyota maintains its United States corporate headquarters within this district,

and relevant documents and witnesses are likely located there”); In re: Lead Contaminated

Fruit Juice Prod. Mktg. and Sales Pract. Litig., 777 F. Supp. 2d 1353, 1355 (J.P.M.L. 2011)

(“this district is the most conveniently located to the headquarters of the various

defendants and therefore, the location of relevant documents and witnesses”).

   The evidence related to Defendants’ alleged actions will emanate from Minnesota

where Defendants made executive decisions. Moreover, absent transfer, judges in the

different districts where Related Actions are or will be pending must separately oversee

duplicative discovery, as well as consider and make rulings on the same or similar

pretrial issues and motions. Such duplicative efforts are both a waste of judicial and party

resources and present the risk of inconsistent pretrial rulings.


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   B. The District of Minnesota Has the Judicial Resources and Expertise to
      Efficiently Manage the Related Actions.

   The Panel weighs the experience and ability of the forum in managing complex

multidistrict litigation in selecting the appropriate transferee district, and then takes into

account the number of pending MDLs in transferring cases for coordinated pretrial

proceedings. See, e.g., In re Baycol, 180 F. Supp. 2d at 1380 (transferring to the District of

Minnesota as “i) centrally located, ii) is not currently overtaxed with other multidistrict

dockets, and iii) possesses the necessary resources, facilities, and technology to sure-

handedly devote the substantial time and effort to pretrial matters that this complex

docket is likely to require”). The District of Minnesota has served as a transferee forum

for many MDLs over the years. Judges in the District of Minnesota possess deep

experience in overseeing complex litigation, in particular products liability actions.

Indeed, of the ten MDL matters pending there, five are products liability actions. See In

re: Baycol Prods. Liab. Litig., MDL No. 1431; In re: Mirapex Prods. Liab. Litig., MDL No. 1836;

In re: Bair Hugger Forced Air Warming Devices Prods. Liab. Litig., MDL No. 2666; In Re:

Stryker Rejuvenate and ABG II Hip Implant Prods. Liab. Litig., MDL No. 2441; In re:

Fluoroquinolone Prods. Liab. Litig., MDL No. 2642.

   C. The District of Minnesota is the Most Convenient Forum for the Parties and
      Witnesses.

   Convenience of the parties and witnesses is another important factor considered by

the Panel in selecting a transferee forum. See generally 28 U.S.C. § 1407(a). Closely related


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to the nexus described above, here, Defendants’ headquarters are a short drive from the

District of Minnesota’s St. Paul and Minneapolis Courthouses.4 Its corporate

representatives and other decision-makers most likely to be the subject of discovery

reside in the Minneapolis/St. Paul area. See In re Darvocet, 780 F. Supp. 2d at 1382

(“Relevant documents and witnesses likely are located within the Eastern District of

Kentucky at defendant Xanodyne’s Newport headquarters”) (citation omitted); In re:

Cook Medical, 53 F. Supp. 3d at 1381 (transferring to district in which defendant Cook

headquartered and “where relevant documents and witnesses are likely to be found”).

    For the plaintiffs in the Related Actions, the majority do not reside in the district in

which the case was filed. Specifically, although filed in the Western District of Oklahoma,

Plaintiff Werner lives in Hawaii and Plaintiff Stine lives in Florida; their respective actions

were filed in the Western District of Oklahoma. Similarly, Plaintiff Bridges’ action was

filed in the Northern District of California although he resides in Washington, D.C.5

Movant and plaintiffs in the Related Actions are geographically dispersed across the

country as U.S. military personnel and other wearers of 3M’s defective Combat Arms™


4 Specifically, 3M identifies its corporate headquarters as located at 3M Corporate
Headquarters, 3M Center, St. Paul, Minnesota 55144.
See https://www.3m.com/3M/en_US/company-us/about-3m/ (last accessed Jan. 24, 2019). The
approximate drive time from this location is between 15-25 minutes to either the St. Paul
or Minneapolis Courthouse, respectively.

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  The lone exception is Plaintiff Kennedy, a resident of Riverside County, California,
whose action was originally filed in San Bernardino County, California before it was
removed to the Central District of California.
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earplugs. Thus, the District of Minnesota, as the principal place of business and

headquarters of Defendants is the most convenient forum. See In re: Fluoroquinolone Prods.

Liab. Litig., 122 F. Supp.3d at 1381 (transferring to the District of Minnesota as it “provides

a geographically central and convenient forum for this nationwide litigation”).

                                      CONCLUSION

   For the reasons set forth above, Movant respectfully requests that the Panel transfer

the Related Actions, as well as any tag-along actions that are subsequently filed asserting

related or similar claims, in the District of Minnesota.

Dated: January 25, 2019                             Respectfully submitted,

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